    Case 4:19-cv-00159-ALM Document 26 Filed 04/30/19 Page 1 of 2 PageID #: 125



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


HUAWEI TECHNOLOGIES USA, INC., and )
HUAWEI TECHNOLOGIES CO., LTD.,         )
                                       )
                  Plaintiffs,          )
                                       )
 v.                                    )                       Civil No. 4:19-cv-00159
                                       )
UNITED STATES OF AMERICA, et al.,      )
                                       )
                  Defendants.          )
______________________________________ )


                                      SCHEDULING ORDER

          Upon consideration of the Parties’ Joint Motion for Entry of a Scheduling Order (Dkt. #25)

and having concluded that the proposals stated therein are appropriate and supported by good

cause, it is hereby

          ORDERED that the motion is GRANTED, and that the following schedule and

page limits shall govern the Parties’ submissions in this case:

                              Event                                  Date           Page Limit 1
    Plaintiffs’ Motion for Summary Judgment                    May 28, 2019             35
    Defendants’ Combined Opposition and Motion to              July 3, 2019             50
    Dismiss, or in the Alternative for Summary Judgment
    Plaintiffs’ Combined Reply and Opposition to               August 14, 2019           30
    Defendants’ Motion to Dismiss, or in the Alternative for
    Summary Judgment
    Defendants’ Reply in Support of Motion to Dismiss, or in   September 10,             15
    the Alternative for Summary Judgment                       2019



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  The page limits for the motion(s) for summary judgment include the Statement of Issues and
Statement of Undisputed Material Facts, and the page limits for opposition(s) to such motion(s)
include the responses to the Statement of Issues and Statement of Undisputed Material Facts.
These page limits exclude exhibits and attachments.
     Case 4:19-cv-00159-ALM Document 26 Filed 04/30/19 Page 2 of 2 PageID #: 126



            It is further ORDERED that the Parties shall not file any other briefs, including sur-reply

    briefs, in regard to the aforementioned motions absent leave of Court; and it is further

            ORDERED that Defendants’ deadline to respond to the Complaint is hereby extended 36

    days, to July 3, 2019; and it is further

            ORDERED that the conference of the Parties contemplated by Fed. R. Civ. P. 26(f) need

    not occur until 21 days after the Court’s ruling on all of the Parties’ respective dispositive motions

.   and that all other discovery obligations in this case, including the disclosures contemplated by Fed.

    R. Civ. P. 26(a)(1) and (a)(2), are tolled accordingly; and it is further

            ORDERED that the Court will hold oral argument on the Parties’ respective

    dispositive motions on September 19, 2019, at 9:00 a.m.

           SIGNED this 30th day of April, 2019.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE




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